     Case: 1:22-cv-04489 Document #: 13 Filed: 11/21/22 Page 1 of 1 PageID #:54

                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                Eastern Division

Joann Jacobs
                                  Plaintiff,
v.                                                     Case No.: 1:22−cv−04489
                                                       Honorable Gary Feinerman
College of Lake County
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 21, 2022:


        MINUTE entry before the Honorable Gary Feinerman:Plaintiff has filed a notice
of voluntary dismissal [12], the terms of which are set forth therein. Motion to dismiss [9]
is denied as moot. The motion hearing set for 12/16/2022 [8] is stricken. Civil case closed.
Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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